Case 1:11-cv-00047-MV-WDS Document 23 Filed 07/06/11 Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW MEXICO

CHRISTINE GRAEBER

                   Plaintiff,

vs.                                                           11CV00047 LFG/MV

THE UNITED STATES OF AMERICA

                  Defendant.


                                       AMENDED COMPLAINT


                                           CLAIM FOR RELIEF
                                             (Personal Injury)

      1. The incident occurred in Bernalillo County, New Mexico.

      2. The Defendant is the federal government. Pursuant to federal law, the Plaintiff properly

presented a written notice of claim (SF 95) to the Defendant within the time prescribed by law.

This action is timely filed within 6 months of the Defendant’s denial of the claim.

      3. The Defendant has waived sovereign immunity and this court has jurisdiction in this

matter as the Defendant is the federal government under the provisions of 28 U.S.C. § 1346 and

28 U.S.C. § 2674.

      4. This court has jurisdiction in this matter.

      5. On or about December 10, 2009, the Plaintiff and the Defendant were westbound on

Alameda Blvd. NW, Albuquerque, New Mexico.

      6. The collision occurred when the Kathryn Porrello, an employee of the Department of

Veterans Affairs and the Defendant drove into the rear of the Plaintiff’s stopped vehicle.

      7. The Defendant was negligent in the following respects:


      Amended Complaint                                                                       page 1
Case 1:11-cv-00047-MV-WDS Document 23 Filed 07/06/11 Page 2 of 3




          (a) failing to keep a proper lookout,

          (b) failing to keep the vehicle under control,

          (c) driving too fast for the conditions,

          (d) following too closely,

          (e) failing to yield the right of way,

          (f) failing to obey a traffic control device,

          (g) driving in violation of existing ordinances and statutes, and

          (h) failing to operate the vehicle in a safe and reasonable manner.

   8. As a result, the Plaintiff has suffered permanent injuries.

   9. Consequently, the Plaintiff sustained the following damages:

          (a) past and future medical expenses,

          (b) pain and suffering, past and future, and

          (c) nonmedical expenses including property damages.

   WHEREFORE, the Plaintiff prays for judgment against the Defendant for the following:

          (1) compensation for the Plaintiff’s losses,

          (2) costs, and

   (3) such other relief as the court may deem proper.

   Dated ____________________.
                                              ALEXANDER A. WOLD, P.C.


                                              by /s/ Alexander A. Wold, Jr.
                                              Alexander A. Wold, Jr.
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   Amended Complaint                                                                 page 2
       Case 1:11-cv-00047-MV-WDS Document 23 Filed 07/06/11 Page 3 of 3




                                 CERTIFICATE OF SERVICE

    Pursuant to the applicable Rules of Civil Procedure for the United States District Court of the

State of New Mexico, I, Alexander A. Wold, Jr., attorney for the Plaintiff, hereby certify that on

the 6th day of July, 2011, the Plaintiff’s Amended Complaint was filed electronically through the

CM/ECF system, which caused the following counsel to be served by electronic means:

    Jan Elizabeth Mitchell, Assistant US Attorney at Jan.Mitchell@usdoj.gov



by: /S/ Alexander A. Wold, Jr.
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